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                                                 United States Bankruptcy Court
                                                  Western District of Oklahoma
     In re DEBRA K. CASEY & GOMER L. CASEY JR.                                                    Case No. 18-

                                                        CHAPTER 13 PLAN
                                                        Check if this is an amended plan

1.    NOTICES:

To Debtors:       This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                  does not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial
                  district. Plans that do not comply with local rules and judicial rulings may not be confirmable.
                 In the following notice to creditors, you must check each box that applies.

To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                 You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do
                 not have an attorney, you may wish to consult one.
                 If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                 objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered
                 by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                 confirmation is filed. See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid
                 under any plan.

 The plan contains nonstandard provisions set out in Section 10.                                                           Yes    ■   No

 The plan limits the amount of a secured claim based on a valuation of the collateral in accordance with                   Yes    ■   No
 Section 5.C.(2)(b).

 The plan avoids a security interest or lien in accordance with Section 9.                                                 Yes    ■   No



2.    PAYMENTS TO THE TRUSTEE: The Debtor (or the Debtor’s employer) shall pay to the Trustee the sum of $________     2435.00 per
                 60 months. If the plan payment structure is in the form of step payments, the payment structure is indicated below.
      month for _____
      Plan payments to the Trustee shall commence on or before 30 days after the Chapter 13 Petition is filed. The Debtor shall turn
      over such additional funds as required by law and/or any Court Order.

      Step payments: 

      Minimum total of plan payments: $_______________

      The Debtor intends to pay plan payments:
       ■ Direct or

         By wage deduction from employer of:         Debtor
                                                     Joint Debtor

      Debtor’s Pay Frequency:       Monthly       Semi-monthly (24 times per year)    Bi-weekly (26 times per year)    Weekly         Other

      Joint Debtor’s Pay Frequency:      Monthly       Semi-monthly (24 times per year)    Bi-weekly (26 times per year)   ■   Weekly
                                         Other

3.                                60
      PLAN LENGTH: This plan is a ______ month plan.

4. GENERAL PROVISIONS:

      a.   As used herein, the term "Debtor" shall include both Debtors in a joint case.

      b.   Student loans are non-dischargeable unless determined in an adversary proceeding to constitute an undue hardship under 11
           U.S.C. §523(a)(8).
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   c.   The Trustee will make no disbursements to any creditor until an allowed proof of claim has been filed. In the case of a
        secured claim, the party filing the claim must attach proper proof of perfection of its security interest as a condition of
        payment by the Trustee.

   d.   Creditors not advising the Trustee of address changes may be deemed to have abandoned their claims.

   e.   All property shall remain property of the estate and shall vest in the Debtor only upon dismissal, discharge, conversion or
        other specific Order of the Court. The Debtor shall be responsible for the preservation and protection of all property of the
        estate not transferred to and in the actual possession of the Trustee.

   f.   The debtor is prohibited from incurring any debts except such debts approved pursuant to the Court’s directives or as
        necessary for medical or hospital care.

5. DISBURSEMENTS TO BE MADE BY TRUSTEE:

   A. ADMINISTRATIVE EXPENSES:
      (1) Estimated Trustee's Fee:     7.50
                                       _______%
      (2) Attorney's Fee (unpaid portion):           2,500.00
                                                    $___________ to be paid through plan in monthly payments
      (3) Filing Fee (unpaid portion):      0.00
                                           $_______

   B. PRIORITY CLAIMS UNDER 11 U.S.C. § 507:

        (1) DOMESTIC SUPPORT OBLIGATIONS:

             (a) Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

             (b) The name(s) of the holder(s) of any domestic support obligation are as follows:




             (c) Anticipated Domestic Support Obligation Arrearage Claims. Unless otherwise specified in this Plan, priority claims
             under 11 U.S.C. § 507(a)(1) will be paid in full pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same
             time as secured claims. Any allowed claim for a domestic support obligation that remains payable to the original
             creditor shall be paid in full pursuant to the filed claim, unless limited by separate Court Order or filed Stipulation.

                Arrearage shall be paid through wage assignment, pursuant to previous Order entered by a non-bankruptcy Court.

                Arrearage shall be paid in full through the plan.

                                           Name                                        Estimated arrearage    Projected monthly arrearage
                                                                                             claim                  payment in plan
                                                                                       $                     $
                                                                                       $                     $

             (d) Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned to, owed
             to, or recoverable by a governmental unit, and shall be paid as follows:

        Claimant and proposed treatment:

        (2) OTHER PRIORITY CLAIMS:

            (a) Pre-petition and/or post-petition priority tax claims shall be paid in full pursuant to the filed claim unless
            limited by separate Court Order or filed Stipulation.

        Name                                                                                                     Estimated Claim
        Oklahoma Tax Commission (2012 Tax Liability)                                                             $ 2,004.34
        Oklahoma Tax Commission (2016 Tax Warrant)                                                               $ 423.91

            (b) All other holders of priority claims listed below shall be paid in full as follows:

        Name                                                                                                     Amount of Claim
                                                                                                                 $
                                                                                                                 $
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C.   SECURED CLAIMS:

     (1) PRE-CONFIRMATION ADEQUATE PROTECTION: Pre-confirmation adequate protection payments to the
     following Creditors holding allowed claims secured by a purchase money security interest in personal property shall be paid
     by the Trustee through the plan as provided below. Adequate protection payments shall not be paid until the Creditor files a
     proof of claim, with proper proof of security attached.

                                                                                                                    Pre-Confirmation
     Name                                                                    Collateral Description                 Monthly Payment
                                                                                                                    $
                                                                                                                    $
                                                                                                                    $

     (2) SECURED DEBTS WHICH WILL NOT EXTEND BEYOND THE LENGTH OF THE PLAN:

        (a) SECURED CLAIMS NOT SUBJECT TO VALUATION: Secured creditors with a purchase money security interest
        securing a debt either incurred within the 910-day period preceding the filing of the bankruptcy petition where the collateral
        is a motor vehicle acquired for personal use, or incurred within the 1-year period preceding the bankruptcy petition where
        the collateral is any other thing of value, shall be paid in full with interest at the rate stated below. The amount stated on an
        allowed proof of claim controls over any contrary amount listed below.

                                                                                      Estimated Amount
     Name                                           Collateral Description                 of Claim      Monthly Payment      Interest Rate

                                                                                     $                   $                           %

                                                                                     $                   $                           %

                                                                                     $                   $                           %

        (b) SECURED CLAIMS SUBJECT TO VALUATION: All other secured creditors, except secured tax creditors, shall
        be paid the proposed secured value with interest in the amounts stated below. To the extent the proposed secured value
        exceeds the secured claim, only the claim amount, plus interest shall be paid. Secured tax claims shall be paid as filed
        unless limited by separate Court Order.
        NOTE: The valuation of real estate requires the filing of a motion to determine value and the entry of a separate Court
        Order before any proposed secured value of real estate stated below may be approved.

                                                                                      Proposed Secured
     Name                                           Collateral Description                 Value         Monthly Payment      Interest Rate

                                                                                     $                   $                           %

                                                                                     $                   $                           %

                                                                                     $                   $                           %

     (3) DEBTS SECURED BY PRINCIPAL RESIDENCE WHICH WILL EXTEND BEYOND THE LENGTH OF THE
     PLAN (LONG-TERM DEBTS):

                                                                         *Monthly   *1st Post-petition       *Estimated Amt   Interest On
     Name                                 Collateral Description       Ongoing Pymt      Payment               of Arrearage    Arrearage
     Wells Fargo Home Mort           1638 Harvest Rd. Ponca City $ 1,399.00               $ 1,399.00          $ 26,000.00     4.88       %
                                                                 $                        $                   $                          %
                                                                 $                        $                   $                          %

     *The “1st post-petition payment” is the monthly ongoing mortgage payment which comes due between the petition date and the due date of
     the first plan payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid
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         according to the amount stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the
         arrearage and the 1st post-petition payment is reflected above.

         (4) OTHER SECURED DEBTS WHICH WILL EXTEND BEYOND THE LENGTH OF THE PLAN (LONG-TERM
         DEBTS):

                                                                                *Monthly   *1st Post-petition       *Estimated Amt      Interest On
          Name                                  Collateral Description        Ongoing Pymt      Payment               of Arrearage       Arrearage
                                                                             $                  $                     $                              %
                                                                             $                  $                     $                              %
                                                                             $                  $                     $                              %

         * The “1st post-petition payment” is the monthly ongoing payment which comes due between the petition date and the due date of the first
         plan payment. The arrearage amounts, monthly ongoing payment, and 1st post-petition payment are estimated and will be paid according to
         the amount stated on the claim unless objected to and limited by separate Court Order. The interest rate to be paid on the arrearage and the
         1st post-petition payment is reflected above.

     D. UNSECURED CLAIMS:

         (1) Special Nonpriority Unsecured claims shall be paid in full plus interest at the rate stated below, as follows:

          Name                                                                                                  Amount of Claim        Interest Rate

                                                                                                          $                                        %

                                                                                                          $                                        %

                                                                                                           $                                         %
                                                                                                           100 percent, unless the
         (2) General Nonpriority Unsecured: Other unsecured creditors shall be paid pro-rata approximately ____
             plan guarantees a set dividend as follows:
                                                                     0
            Guaranteed dividend to non-priority unsecured creditors: ____________.

6. DIRECT PAYMENTS BY DEBTOR: The Debtor shall make regular payments directly to the following creditors:

          Name                                                           Amount of          Monthly           Collateral Description if Applicable
                                                                          Claim             Payment
                                                                         $              $
                                                                         $              $
                                                                         $              $

     NOTE: Direct payment will be allowed only if the debtor is current on the obligation, the last payment on the obligation comes
     due after the last payment under this plan, and no unfair preference is created by the direct payment.

7.   EXECUTORY CONTRACTS AND UNEXPIRED LEASES: The plan rejects all executory contracts and unexpired leases,
     except as follows:

          Name                                                                                 Description of Contract or Lease




8. SURRENDERED PROPERTY: The following property is to be surrendered to the secured creditor, with a deficiency allowed,
    unless specified otherwise. The Debtor requests the automatic stay be terminated as to the surrendered collateral upon entry of
    Order Confirming Plan or other Order of the Court.

          Name                                                   Amount of Claim                          Collateral Description
                                                                 $
                                                                 $
                                                                 $
                                                                 $
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9.   LIEN AVOIDANCE: No lien will be avoided by the confirmation of this plan. Liens may be avoided only by separate Court
     Order, upon proper Motion including reasonable notice and opportunity for hearing.

     Liens Debtor intends to avoid:

         Name                                                  Amount of Claim                    Description of Property
                                                           $
                                                           $
                                                           $
                                                           $

 10. NONSTANDARD PLAN PROVISIONS: Any nonstandard provision placed elsewhere in this plan is void.




✔ By checking this box certification is made by the Debtor, if not represented by an attorney, or the Attorney for Debtor, that the plan
contains no nonstandard provision other than those set out in this paragraph.



 Date 07/10/2018                                        Signature    /s/ Debra K. Casey
                                                                     Debtor


 Date 07/10/2018                                        Signature    /s/ Gomer L. Casey Jr.
                                                                     Joint Debtor
  /s/O. Clifton Gooding
 _______________________________
 Attorney Signature
  O. Clifton Gooding
 _______________________________
 Attorney Name
  10315
 _______________________________
 Bar Number
  204 N. Robinson, Suite 650
 _______________________________
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 Attorney for Debtor(s)
